239 F.2d 166
    57-1 USTC  P 9215
    Lillian GALVIN, Petitioner,v.COMMISSIONER OF INTERNAL REVENUE, Respondent.
    No. 76, Docket 24076.
    United States Court of Appeals Second Circuit.
    Argued Nov. 16, 1956.Decided Dec. 3, 1956.
    
      Murray S. Levine, New York City, for petitioner.
      Charles B. E. Freeman, Atty., Dept. of Justice, Washington, D.C.  (Charles K. Rice, Asst. Atty. Gen., and Lee A. Jackson and A. F. Prescott, Attys., Dept. of Justice, Washington, D.C., on the brief), for respondent.
      Before CLARK, Chief Judge, and FRANK and HINCKS, Circuit Judges.
      PER CURIAM.
    
    
      1
      Taxpayer's petition for redetermination of deficiencies in her 1950 income taxes was filed with the Tax Court on September 15, 1955, the 92nd day after the notice of deficiency was mailed her.  It was contained in an envelope bearing the United States postmark for September 14, 1955.  Hence the court correctly held it had no jurisdiction of the petition, since it was not filed within the 90 days required by I.R.C. § 6213(a), 26 U.S.C., and since I.R.C. § 7502(a), providing for treating timely mailing as timely filing, was inapplicable in view of its express requirement that the postmark date must fall within the prescribed period.
    
    
      2
      Affirmed.
    
    